Case 9:18-ap-01057-DS       Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                 Desc
                            Main Document    Page 1 of 10


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     Confirmed Chapter 11 Liquidating Plan
 9
10                            UNITED STATES BANKRUPTCY COURT
11                            CENTRAL DISTRICT OF CALIFORNIA
12                                     NORTHERN DIVISION
13
14   In re:                                      Case No. 9:16-bk-11912-DS

15   CHANNEL TECHNOLOGIES GROUP,                 Adv. Case No. _________
     LLC,
                                                 Chapter 11 Proceeding
16                Debtor.
                                                 COMPLAINT TO AVOID AND RECOVER
17                                               PREFERENTIAL TRANSFERS OF
     CORPORATE RECOVERY                          PROPERTY
18
     ASSOCIATES, LLC, as Liquidating Trustee
                                              [11 U.S.C. §§ 547, 550 and 551]
19   appointed under the confirmed Chapter 11
     plan of Channel Technologies Group, LLC, STATUS CONFERENCE
20                                            DATE:        [To Be Set by Summons]
                   Plaintiff,                 TIME:        [To Be Set by Summons]
21           v.                               PLACE:       Courtroom 201
                                                           United States Bankruptcy Court
22   LYNN CHEN,
                                                           1415 State Street
23                 Defendant.                              Santa Barbara, CA 93101

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                                                                MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS              Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                             Desc
                                   Main Document    Page 2 of 10


 1              Corporate Recovery Associates, LLC, solely in its capacity as the liquidating trustee
 2   (“Liquidating Trustee” or “Plaintiff”) appointed under the confirmed Chapter 11 Liquidating Plan
 3   (as modified, “Plan”) of Debtor Channel Technologies Group, LLC (“Debtor”), for its complaint
 4   (the “Complaint”) against Defendant Lynn Chen (“Defendant”), alleges upon information and
 5   belief as follows:
 6                                                                I.
 7                                STATEMENT OF JURISDICTION AND VENUE
 8              1.       The Debtor filed a petition under Chapter 11 of Title 11 of the United States Code
 9   on October 14, 2016 (the “Petition Date”), initiating In re Channel Technologies Group, LLC, Case
10   No. 9:16-bk-11912-DS (the “Bankruptcy Case”).
11              2.       This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.
12   §§157 and 1334 and Article IX of the Plan.
13              3.       This adversary proceeding is a core proceeding under, inter alia, 28 U.S.C.
14   §157(b)(2).
15              4.       This adversary proceeding is a civil proceeding arising in and related to the
16   Bankruptcy Case, and such case is pending before this Court. Accordingly, venue in this Court is
17   proper under 28 U.S.C. § 1409(a).
18                                                               II.
19                                           PROCEDURAL BACKGROUND
20              5.       On March 2, 2018, the Court entered the Order Confirming Chapter 11 Liquidating
21   Plan (“Confirmation Order”) [Docket No. 473], which, among other things, confirmed the Plan. 1
22              6.       The Plan provides, among other things, for the establishment of a liquidating trust
23   (“Liquidating Trust”) and the appointment of the Liquidating Trustee as trustee of the Liquidating
24   Trust.
25              7.       The Liquidating Trust is established for the purpose of, among other things,
26
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         Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Plan.
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                                                                  -2-
                                                                                   MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS        Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                      Desc
                             Main Document    Page 3 of 10


 1   administering, investigating, prosecuting, settling and abandoning any and all manner of causes of
 2   action, claims, obligations, suits, debts, judgments, demands, rights of offset or recoupment,
 3   damages (actual, compensatory or punitive), counterclaims or affirmative defenses, whatsoever,
 4   whether in law or in equity of the Debtor and the Debtor’s bankruptcy estate, including, but not
 5   limited to, (i) any claim or right under the following: 11 U.S.C. §§ 544, 545, 547, 548, 549, 550,
 6   551 and 553(b); all prevailing fraudulent conveyance and fraudulent transfer laws; all non-
 7   bankruptcy laws vesting in creditors’ rights to avoid, rescind, or recover on account of transfers,
 8   including, but not limited to, claims relating to illegal dividends; all preference laws; the Uniform
 9   Fraudulent Transfer Act; and California Civil Code sections 3439 and 3440, et seq. and (ii) any
10   and all claims (if any) against former managers, officers, directors, employees and/or agents of the
11   Debtor, except as otherwise set forth in the Plan (collectively, “Causes of Action”).
12           8.     Therefore, pursuant to the Confirmation Order and the Plan, the Liquidating Trustee
13   was granted requisite standing and authority to prosecute and pursue Causes of Action.
14           9.     On April 2, 2018, the Liquidating Trustee filed the Notice of: (1) Occurrence of
15   Effective Date of Chapter 11 Liquidating Plan, and (2) Deadlines for Filing Certain Claims and
16   Requests for Payment [Docket No. 547], pursuant to which the Liquidating Trustee gave notice
17   that the Effective Date of the Plan had occurred on April 2, 2018.
18           10.    Pursuant to the Plan, the Liquidating Trustee was appointed as of the Effective
19   Date.
20                                                    III.
21                                                 PARTIES
22           11.    Pursuant to the Plan, the Plaintiff is authorized to prosecute and resolve Causes of
23   Action on behalf of the Debtor’s estate.
24           12.    The Defendant Lynn Chen is an individual, the former Chief Financial Officer of
25   the Debtor, and a resident of the State of California.
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                                                       -3-
                                                                      MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS       Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                       Desc
                            Main Document    Page 4 of 10


 1                                                    IV.
 2                                     GENERAL ALLEGATIONS
 3          13.     On or about May 29, 2015, the Defendant was employed by the Debtor as Chief
 4   Financial Officer pursuant to that certain Offer of Employment Letter Agreement, executed by and
 5   between the Debtor and the Defendant (“Employment Agreement”), which provided, among other
 6   things, for severance payments to the Defendant upon the Debtor’s termination of the Defendant’s
 7   employment.
 8          14.     On or about February 17, 2016, the Debtor and the Defendant entered into that
 9   certain Severance Agreement and General Release (“Severance Agreement”), which provided for,
10   among other things, the termination of the Defendant's employment as of February 15, 2018 and
11   the modification of the terms of the Defendant’s severance payments.
12          15.     On or about March 4, 2016, the Debtor made a transfer of an interest in the Debtor’s
13   property to or for the benefit of the Defendant through the payment to the Defendant of a severance
14   payment in the amount of $10,185.66 (“March 4 Transfer”), pursuant to the terms of the
15   Employment Agreement and the Severance Agreement.
16          16.     On or about March 18, 2016, the Debtor made a transfer of an interest in the
17   Debtor’s property to or for the benefit of the Defendant through the payment to the Defendant of a
18   severance payment in the amount of $193,527.63 (“March 18 Transfer” and, together with the
19   March 4 Payment, the “Preferential Transfers”), pursuant to the terms of the Employment
20   Agreement and the Severance Agreement.
21          17.     Each of the Preferential Transfers was made within one (1) year prior to the Petition
22   Date (“Preference Period”).
23          18.     The Defendant, as Chief Financial Officer, was an insider of the Debtor, as such
24   term in defined in 11 U.S.C. §101(31), when each of the Preferential Transfers were made.
25          19.     During the course of this adversary proceeding, Plaintiff may learn (through
26   discovery or otherwise) of additional transfers made to Defendant during the Preference Period.
27   Plaintiff intends to avoid and recover all transfers made by the Debtor of an interest of the Debtor
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                                                       -4-
                                                                      MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS        Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                       Desc
                             Main Document    Page 5 of 10


 1   in property and to or for the benefit of Defendant. The Plaintiff reserves its right to amend this
 2   original Complaint to include: (i) further information regarding the Preferential Transfers(s), (ii)
 3   additional transfers, (iii) modifications of and/or revision to Defendant’s name, (iv) additional
 4   defendants, and/or (v) additional causes of action authorized by the Plan (collectively, the
 5   “Amendments”), that may become known to Plaintiff at any time during this adversary proceeding,
 6   through formal discovery or otherwise, and for the Amendments to relate back to this original
 7   Complaint.
 8                                                     V.
 9                                      FIRST CLAIM FOR RELIEF
10                   (To Avoid Preferential Transfers Pursuant to 11 U.S.C. § 547)
11          20.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
12   though fully set forth herein.
13          21.     The Preferential Transfers were made from property of the Debtor.
14          22.     The Defendant, as Chief Financial Officer of the Debtor, was an “insider” of the
15   Debtor, as that term is defined in 11 U.S.C. § 101(31), when the Employment Agreement and the
16   Severance Agreement were entered into and when the Transfers were made.
17          23.     The Preferential Transfers were made within one (1) year of the Petition Date.
18          24.     The Preferential Transfers were made to or for the benefit of the Defendant.
19          25.     The Defendant was a creditor of the Debtor at the time of the Preferential Transfers
20   within the meaning of 11 U.S.C. § 101(10)(A). At the time of the Preferential Transfers, the
21   Defendant had a right to payment on account of an obligation owed to Defendant by the Debtor.
22          26.     Each of the Preferential Transfers was made on account of an antecedent debt owed
23   by the Debtor to the Defendant before the Preferential Transfers were made. The Preferential
24   Transfers were each made on account of a debt obligation for which the Debtor was legally bound
25   to pay to the Defendant pursuant to the terms of the Employment Agreement and the Severance
26   Agreement.
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                                                                       MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS        Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                      Desc
                             Main Document    Page 6 of 10


 1          27.     The Preferential Transfers were to or for the benefit of a creditor within the
 2   meaning of 11 U.S.C. § 547(b)(1) because the Preferential Transfers either reduced or fully
 3   satisfied a debt then owed by the Debtor to the Defendant.
 4          28.     The Debtor was insolvent at the time of the Preferential Transfers in that the sum of
 5   its debts was greater than the fair value of its assets, within the meaning of 11 U.S.C. § 101(32)(A)
 6   and 11 U.S.C. § 547(b)(3).
 7          29.     By reason of the Preferential Transfers, the Defendant received more on account of
 8   her claim than the Defendant would receive if this case were a case under Chapter 7 of the
 9   Bankruptcy Code, the Preferential Transfers had not been made, and the Defendant received
10   payment of such debt to the extent provided by the provisions of the Bankruptcy Code.
11          30.     As of the date hereof, the Defendant has not returned any of the Preferential
12   Transfers to the Debtor.
13          31.     The Plaintiff is entitled to an order and judgment pursuant to 11 U.S.C. § 547 that
14   avoids the Preferential Transfers.
15                                                    VI.
16                                    SECOND CLAIM FOR RELIEF
17                              (To Recover Avoided Transfers from Defendant
18                       for the Benefit of the Estate Pursuant to 11 U.S.C. § 550)
19          32.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
20   though fully set forth herein.
21          33.     The Defendant was the initial transferee of each of the Preferential Transfers or the
22   immediate or mediate transferee of such initial transferee or the person for whose benefit the
23   Preferential Transfers were made.
24          34.     Pursuant to 11 U.S.C. § 550(a), the Plaintiff is entitled to recover from Defendant
25   the Preferential Transfers or the value of such Preferential Transfers.
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                                                                      MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS         Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                     Desc
                              Main Document    Page 7 of 10


 1                                                   VII.
 2                                     THIRD CLAIM FOR RELIEF
 3                              (To Preserve Preferential Transfers for the
 4                          Benefit of the Estate Pursuant to 11 U.S.C. § 551)
 5          35.     The Plaintiff realleges and incorporates by reference the foregoing paragraphs, as
 6   though fully set forth herein.
 7          36.     Pursuant to 11 U.S.C. § 551, the Preferential Transfers are preserved for the benefit
 8   of the estate as the Preferential Transfers are avoidable under 11 U.S.C. § 547 as set forth
 9   hereinabove.
10                                                   VIII.
11                                        PRAYER FOR RELIEF
12          WHEREFORE, the Plaintiff prays that this Court enter judgment in favor of the Plaintiff
13   and against the Defendant as follows:
14          A.      Pursuant to the First Claim for Relief, enter judgment in favor of the Plaintiff and
15   against the Defendant under 11 U.S.C. § 547 to avoid the Preferential Transfers in an amount not
16   less than $203,713.29;
17          B.      Pursuant to the Second Claim for Relief, enter judgment in favor of the Plaintiff and
18   against the Defendant under 11 U.S.C. § 550 to recover the Preferential Transfers or the value
19   thereof;
20          C.      Pursuant to the Third Claim for Relief, enter judgment in favor of the Plaintiff and
21   against the Defendant under 11 U.S.C. § 551 to preserve for the benefit of the estate the
22   Preferential Transfers in an amount not less than $203,713.29;
23          D.      Award the Plaintiff prejudgment interest at the legally allowed applicable rate;
24          E.      Award the Plaintiff costs, and expenses of suit herein; and
25          ///
26          ///
27          ///
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                                                       -7-
                                                                      MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS       Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18                      Desc
                            Main Document    Page 8 of 10


 1          F.      Grant the Plaintiff such other and further relief the Court deems just and
 2   appropriate.
 3   Dated: October 12, 2018                      WINTHROP COUCHOT
                                                  GOLUBOW HOLLANDER, LLP
 4
 5
                                                  By: /s/ Andrew B. Levin
 6                                                        Robert E. Opera
                                                          Richard H. Golubow
 7                                                        Andrew B. Levin
                                                  Counsel for Liquidating Trustee Appointed under
 8                                                Confirmed Chapter 11 Liquidating Plan
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                                                      -8-
                                                                     MAINDOCS-#235856-v3-CTG_Chen_Preference_Complaint
Case 9:18-ap-01057-DS   Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18   Desc
                        Main Document    Page 9 of 10
Case 9:18-ap-01057-DS   Doc 1 Filed 10/12/18 Entered 10/12/18 16:13:18   Desc
                        Main Document    Page 10 of 10
